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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

KENNETH AND MARY STOKES                                                            PLAINTIFF

v.                              Case No. 4:17-cv-00425 KGB

RPM COMMERICAL INC.
d/b/a COLDWELL BANKER COMMERICAL RPM, et al.                                    DEFENDANTS

                                           ORDER

        Before the Court is plaintiffs Kenneth and Mary Stokes’ motion to extend deadline to

respond (Dkt. No. 25). By prior Order, this Court granted Mr. and Mrs. Stokes’ motion to extend

the deadline to respond to separate defendants RPM Commercial, Inc. d/b/a Coldwell Banker

Commercial, RPM, and Rector Phillips Morse, Inc. d/b/a RPM Group’s (collectively, “RPM

Defendants”) motion for judgment on the pleadings and to dismiss for lack of standing (Dkt. No.

24). The Court granted Mr. and Mrs. Stokes up to and including March 9, 2018, to respond (Id.).

In their present motion, Mr. and Mrs. Stokes submit that they are working through settlement

negotiations and are close to settling (Dkt. No. 25, ¶ 3).   They further assert that they have

conferred with opposing counsel and that opposing counsel has no objection to the extension (Id.,

¶ 5).

        For good cause shown, the Court grants the motion (Dkt. No. 25). Mr. and Mrs. Stokes

have up to and including March 23, 2018, to respond to the RPM Defendants’ motion

        So ordered this 12th day of March, 2018.


                                                    ________________________________
                                                    Kristine G. Baker
                                                    United States District Court Judge
